
Acupuncture Healthcare Plaza I, P.C., as Assignee of Cherry, Sharmaine, Appellant,
againstState Farm Mutual Automobile Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Rivkin Radler, LLP (Cheryl F. Korman and Stuart M. Bodoff of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered November 3, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment, and granted defendant's cross motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath (EUOs).
For the reasons stated in Charles Deng Acupuncture, P.C., as Assignee of Denard, Jean v State Farm Mut. Auto. Ins. Co. (___ Misc 3d ____, 2018 NY Slip Op _____ [appeal No. 2016-75 K C], decided herewith), the order is affirmed. 
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur. 
ENTER:Paul KennyChief ClerkDecision Date: May 18, 2018










